             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
                           v.                   )   No. 6:20-CR-03041-5
                                                )
                                                )
APRIL WHITE,                                    )
                                                )
                           Defendant.           )


                                MOTION TO WITHDRAW

      COMES NOW Branden Twibell, attorney at law, and hereby moves the Court for

leave to withdraw as counsel for Defendant for the reason that attorney Peter Bender has

entered his appearance as counsel for Defendant.

      WHEREFORE, the undersigned counsel prays for leave to withdraw as attorney

for Defendant.


                                         Respectfully submitted,


                                         /s/ Branden Twibell
                                         _______________________________
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                                  Certificate of Service

I hereby certify that on this 28th day of January, 2021, the foregoing document was
electronically filed with the Clerk of the Court using the CM/ECF system which sent
notification of such filing to the Assistant United States Attorney, Springfield, Missouri,
and all other counsel of record.

                                          /s/ Branden Twibell
                                          _______________________________
                                          Branden Twibell




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